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 9   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
10

11                          UNITED STATES DISTRICT COURT

12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   IN THE MATTER OF THE GRAND JURY         CR Misc. No. 2:21-CM-00122

14                                           UNDER SEAL LODGING OF GOVERNMENT’S
                                             NOTICE TO THE COURT OF NAMES OF
15                                           GOVERNMENT PERSONNEL RECEIVING
                                             DISCLOSURE OF GRAND JURY MATTERS
16                                           UNDER RULE 6(E) OF THE FEDERAL
                                             RULES OF CRIMINAL PROCEDURE AND
17                                           CERTIFICATION OF ADVICE TO SUCH
                                             PERSONS OF SECRECY REQUIREMENTS
18
                                             LODGED UNDER SEAL UNDER AUTHORITY
19                                           OF FED. R. CRIM. P. 6(e)(2)(B)

20

21        Pursuant to Rule 6(e)(3)(B) of the Federal Rules of Criminal
22   Procedure, the United States of America hereby lodges with the court,
23   under seal, the attached Exhibit A setting forth the names of
24   government personnel (including personnel of a state or state
25   subdivision) whom the attorney for the government considers necessary
26   to assist in performing that attorney’s duty to enforce criminal law,
27   and to whom disclosure of grand jury matters has been or will be made
28   for that purpose pursuant to Rule 6(e)(3)(A)(ii).
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 1        The undersigned Assistant United States Attorney hereby

 2   certifies that s/he has advised the government personnel listed in

 3   Exhibit A of the grand jury secrecy obligations imposed by Rule 6(e)

 4   of the Federal Rules of Criminal Procedure.

 5   Dated: May 5, 2021                  Respectfully submitted,

 6                                       TRACY L. WILKISON
                                         Acting United States Attorney
 7
                                         BRANDON D. FOX
 8                                       Assistant United States Attorney
                                         Chief, Criminal Division
 9

10                                            /s/
                                         SCOTT D. DUBOIS
11                                       Assistant United States Attorney
12                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
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 1                                     EXHIBIT A

 2   GOVERNMENT PERSONNEL RECEIVING DISCLOSURE OF GRAND JURY MATTERS UNDER

 3   RULE 6(E)(3)(A)(II) OF THE FEDERAL RULES OF CRIMINAL PROCEDURE:

 4                    NAME                                 AGENCY
 5                                            Homeland Security Investigations
      Special Agent Jonathan Rodriguez        (HSI) - Los Angeles
 6                                            International Airport (LAX)

 7    Special Agent Michael Fernandez         HSI - LAX
                                              HSI - Dallas Fort Worth
 8    Special Agent Michael Clark             International Airport (DFW)
 9    Detective Anthony Chavez                DFW Airport Police Department

10    Detective Timothy Ellis                 DFW Airport Police Department
                                              Department of Labor - Office of
11    Special Agent James Buck                the Inspector General
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